                      UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF NORTH CAROLINA
                            EASTERN DIVISION
                             NO. 4:04-CR-87-2H

UNITED STATES OF AMERICA

             v.                              o R D E R
                                        AMENDING JUDGMENT
CHARLES LINDBERGH BELL,

             Defendant.


     This matter is before the court on the government's motion filed

June 9,   2009,   for downward departure pursuant to Federal Rule of

Criminal Procedure 35(b).

     The court hereby grants the motion of the government and amends

the original judgment as follows:

            It is hereby ordered that the defendant is
            committed to the custody of the United States
            Bureau of Prisons to be imprisoned for a term
            of 60 months on Count 1 of the Indictment.

All other aspects of the original judgment dated November 8, 2005,

as amended by order dated September 29, 2008, are hereby reaffirmed.
                  Yli.
     This    1/ '-. day of August 2009.


                                                             s District Judge

At Greenville
#31




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